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                        UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
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11                                              )
     SUSAN WOLD,                                )    Case No. SACV 19-01124-JEM
12                                              )
                         Plaintiff,             )
13                                              )    JUDGMENT
                  v.                            )
14                                              )
     ANDREW M. SAUL,                            )
15   Commissioner of Social Security,           )
                                                )
16                       Defendant.             )
                                                )
17

18         In accordance with the Memorandum Opinion and Order Affirming Decision of the
19   Commissioner of Social Security filed concurrently herewith,
20         IT IS HEREBY ADJUDGED that the decision of the Commissioner of Social Security
21   is AFFIRMED and this action dismissed with prejudice.
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23   DATED: June 22, 2020                                  /s/ John E. McDermott
                                                          JOHN E. MCDERMOTT
24                                                  UNITED STATES MAGISTRATE JUDGE
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